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                                                                            ELECTRONICALLY FILED
                                                                                10/23/2018 3:05 PM
                                                                              57-CV-2018-900313.00
                                                                               CIRCUIT COURT OF -
                                                                          RUSSELL COUNTY,ALABAMA
                                                                             JODY SELLERS,CLERK
                     IN THE CIRCUIT COURT OF RUSSELL COUNTY
                                STATE OF ALABAMA


IZOLA SANDERS,

                Plaintiff,                           CIVIL ACTION
                                                     FILE NO.
        vs.


WALMART STORE EAST,LP and X,Y & Z
Corporations, whosc truc names arc unknown to
Plaintiff,

                Dcfcndant.


                                             COMPLAINT


        COMES NOW, Plaintiff[ZOLA SANDERS, and files this her Complaint for darnagcs

against Defendant, WALMART STORES EAST, LP and X, Y & Z Corporations, whose truc

names arc currently unknown to Plaintiff, showing the Court as follows:

                               I. PARTIES,JURISDICTION and VENUE -

                                               1.

        Plaintiff is a resident of Phenix City, Russell County, Alabama and subject to thc

jurisdiction of t.his Court,

                                               2.

        Defendant Walmart Stores East, LP is a foreign corporation authorized to do business in

the state of Alabama. This Defendant may be served through its registered agent, CT

Corporation, 2 North Jackson Strcct, Montgomery, Alabama 36104. Defendant conducts

business located at 3700 Highway 280/431, Phcnix City, Russell County, Alabama and is subject

to the jurisdiction of this Court.




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                                                3.

       "X, Y & Z Defendante whose true names and identities are currently unknown to

Plaintiff at this time have committed torts against Plaintiff and can be served with a Second

Original Complaint and Sumrnons once their true identity(ies) have been ascertained through

discovery and/or through stipulation between counsel.

                                                4.

       On or about November 18, 2017, Plaintiff was walking past registers 15 and 14 in the

front of the Wal-Mart retail store owned and operated by Defendant and located at 3700

Highway 280/43 l, Phenix City, Russell County, Alabama when she slipped and fell as a result of

water and ice on the floor in close proximity to the ice machine. The claims and damages

asserted herein arise out ofsaid incident.

                                                5.

       Defendants are subject to the jurisdiction ofthis Court and venue is proper.

                                    II. OPERATIVE FACTS

                                                6.

       At all times referenced herein, Plaintiff was an invitee ofDefendant Walmart Stores East,

LP.

                                                7.

       On Novernber 18, 2017, Plaintiff was shopping at the Wal-Mart retail store owned and

operated by Defendant and located at 3700 Highway 280/431, Phenix City, Russell County,

Alabama.

                                                8,

        While inside the subject store on the above referenced date, Plaintiff was walking paSt the

check-out registers near the ice machine when she slipped and fell in water and ice on the floor.


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                                                   9.

        On the date of her fall, there were neither warning signs nor any other type of warning

alerting Plaintiff of an ictual or potential hazard in the area where Plaintiff fell.

                                                  10.

        Defendants, including its/their agents, partners, and/or employees were responsible for

keeping its prernises and approaches safe for its/their invitees, including, but not limited to,

Plaintiff.

                                                   11.

        Before and at the time of the of Plaintiff's slip and fall, Defendants, its/their agents,

representatives, and/or employees had constructive and/or actual knowledge of the hazardous

condition that caused Plaintiff's faIl.

                                                   12.

        Before and at the time of the of Plaintiffs slip and fall, Defendants, its/their agents,

representatives, and/or employees had superior constructive and/or actual knowledge of the

hazardous condition that caused Plaintiff's falL

                                                   13.

        Because of the hazardous condition caused by Defendant's negligence, Plaintiff slipped,

fell, and suffered severe and painffil injuries to her body whichrequired tnedical attention.

                              III. LIABILITY OF THE DEFENDANT

                                                   14.

        Plaintiff incorporates the foregoing paragraphs as iffully set forth herein.




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                                                 15.

       Defendants failed to maintain a safe premise in accordance with safety laws, codes, and

standards.

                                                 l 6.

       Defendant, was negligent and said negligence directly and proximately caused Plaintiffs

injuries through its conduct, including, but not limited to:

        1.     Tortiously failing to take reasonable precautions to safeguard and protect invitees

                who traversed its premises;

        2.     Tortiously failing to implement and/or comply with reasonable polices and/or

                procedures to safeguard and protect invitees who traversed its premises;

        3       Tortiously &fling to properly train and supervise their employees in the

                appropriate manner to safeguard and protect invitees who traversed Defendant's

                premises;

        4.      Under the doctrine of respondeat superior for the tortious acts and omissions of

                their agents,and employees, as set forth herein.

                                    IV. DAMAGES CLAIMED

                                                 17.

        The damages claimed by the Plaintiff were proximately caused by the tortious acts and

omissions ofDefendant, its/their agents and/or employees.

                                                 18.

        The acts of Defendant, its agents and employees were willful and wanton, and showed

such callous indifference to the rights of others that punitive damages should be imposed in an

amount to be determined by a jury.




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                                           19.

  Plaintiffclaims damages as follows:

  1.     Cornpensatory damages for all components of the physical pain and suffering

         endured by the Plaintiffthrough the present and into the finure;

  2.     Special damages for medical expenses, past, present and future;

  3.     Special damages for lost wages; and

  4.     Punitive Damages in an amount sufficient to deter Defendant from such willful

         and wanton tortious conduct in the future.

                               V. PRAYER FOR RELIEF

                                           20.

   WHEREFORE,Plaintiff prays for judgment against Defendant as follows:

   l.    That Summons be issued requiring the Defendant to appear as provided by law to

         answer this Complaint;

   2.    That the Plaintiff have a trial by jury;

   3.    That the Plaintiff recovers damages for her mental and physical suffering, special

         damages for her medical expenses(past, present and future), and special damages

         for her lost wages;

  4.     Plaintiff claims punitive damages against Defendant in an amount to be

         determined by the enlightened conscious ofthe jury;

   J.     For reasonable attorneys' fees and costs should Defendant be stubbornly litigious;

   6.     For such other and further relief as is allowed by law and as the Court may deem

         just and proper.




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       DATED this 22nd day of October, 2018.

                                                        PHILIPS BRANCH & HODGES



                                                        /s/ Stephen J. Hodges
                                                        Stephen J. Hodges
                                                        AL Bar No.: HOD019
P.O. Box 2808
Columbus, Georgia 31902
706-323-6461 (phone)
706-571-0765(fax)
steve@philips-branch.com

                                                        THE LAW FIRM OF CHANCEY &
                                                        COOLEY,LLC



                                                        /s/ Jennifer D. Cooley
                                                        Jennifer D. Cooley
                                                        AL Bar No: C00083

 1200 8th Avenue
Phenix City, Alabama 36867
334-297-2400
jenniferdcooley@gmail.com



Personally appeared before the undersigned authority in and for said State and County appeared,
IZOLA SANDERS, who after first  having been duly sworn, on oath, deposes and says that the
information contained in the within and foregoing Complaint is true and correct.

   „geszttt
Izola Sanders

Swornea4srybscribed before me
this th    day ofOctober, 2018.
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Notary Public
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Russell County,pab*tkosER.A            1:.
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